Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.365 Filed 07/06/21 Page 1 of 21




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

YPSILANTI ART THEATRE CORP.,
d/b/a Deja Vu Showgirls Ypsilanti;            Case No. 5:21-cv-10982
and M.I.C. LIMITED, INC.,                        Hon. Judith E. Levy
                                           Magistrate Judge Anthony P. Patti
      Plaintiffs,

v.

CITY OF YPSILANTI; CITY OF
YPSILANTI PLANNING
COMMISSION; ANDY AAMODT,
in his official capacity as the City
Planner; and JOE MEYERS, in his
official capacity as the City of
Ypsilanti Director of Economic
Development,

      Defendants.


Matthew J. Hoffer (P70495)             Lauri B. Stewart (P55014)
Zachary M. Youngsma (P84148)           Kerr, Russell and Weber, PLC
SHAFER & ASSOCIATES, P.C.              500 Woodward, Suite 2500
3800 Capital City Blvd., Suite 2       Detroit, MI 48226
Lansing, Michigan 48906                (313) 961-0200
(517) 886-6560                         lstewart@kerr-russell.com
Matt@BradShaferLaw.com                 Scott D. Bergthold (TN 023186)
Zack@BradShaferLaw.com                 Law Office of Scott D. Bergthold, P.L.L.C.
Attorneys for Plaintiffs               2290 Ogletree Ave., Suite 106
                                       Chattanooga, TN 37421
                                       (423) 899-3025
                                       sbergthold@sdblawfirm.com
                                       Attorneys for Defendants

                    DEFENDANTS’ MOTION TO DISMISS
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.366 Filed 07/06/21 Page 2 of 21




      Defendants move to dismiss this action under Younger v. Harris, 401 U.S.

37 (1971). The complaint challenges Ypsilanti’s Zoning Ordinance, which the City

has been enforcing against Plaintiffs since 2019, and is presently enforcing at the

administrative level and through a civil enforcement action for nuisance abatement

and injunctive relief in the Washtenaw County Circuit Court.

      For the reasons enumerated in the brief below, this Court should abstain

from interfering with the ongoing enforcement proceedings and dismiss this action.




                                          2
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.367 Filed 07/06/21 Page 3 of 21




     BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS


                                Issue Presented

1.    Whether, under the Younger abstention doctrine, this Honorable Court

should abstain from addressing Plaintiffs’ claims against the City of Ypsilanti and

the City’s ongoing enforcement of its Zoning Ordinance against Plaintiffs, which is

occurring both administratively and in state court.




                                          3
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.368 Filed 07/06/21 Page 4 of 21




                   Summary of Authority for Relief Sought

  1. Younger v. Harris, 401 U.S. 37 (1971) (emphasizing comity between the
     state and national governments and instructing district courts to abstain from
     hearing constitutional claims when doing so would interfere with pending
     state criminal proceedings)

  2. Huffman v. Pursue, Ltd., 420 U.S. 592 (1975) (holding that Younger applies
     to state civil proceedings that implicate important state interests, including
     nuisance proceedings)

  3. Hicks v. Miranda, 422 U.S. 332 (1975) (holding that Younger applies when
     state proceedings are begun against the federal plaintiff after the federal
     complaint is filed but before any proceedings of substance on the merits
     have taken place in federal court)

  4. Middlesex County Ethics Committee v. Garden State Bar Association, 457
     U.S. 423 (1982) (applying Younger to administrative disciplinary
     proceedings against lawyer, and setting forth three-part test)

  5. Loch v. Watkins, 337 F.3d 574 (6th Cir. 2003) (following Hicks v. Miranda
     and applying Younger abstention where state civil enforcement action began
     after federal complaint was filed)

  6. Doe v. Univ. of Ky., 860 F.3d 365 (6th Cir. 2017) (applying Younger to
     abstain from hearing challenges to university’s procedures governing sexual
     misconduct hearings)




                                        4
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.369 Filed 07/06/21 Page 5 of 21




                                    Introduction

    Plaintiffs (collectively, “Deja Vu”) sue the City of Ypsilanti, its planning

commission, and two city employees, over the City’s ongoing enforcement of

Chapter 122 of the Ypsilanti City Code (the “Zoning Ordinance”).

    Deja Vu claims that: (1) the City’s enforcement of the Zoning Ordinance’s

generally-applicable nonconforming use restrictions is based on distaste for its

form of entertainment (Count I), even though no factual allegation supports that

claim; and (2) the City is foot-dragging in approving the “expansion or

intensification” of its nonconforming use through the site plan review process

(Count II)—even while admitting both that it has already made “unpermitted

repairs” (triggering the City’s “stop-work order”) (see R. 1 at 2, ¶ 2), and that its

nonconforming use is prohibited from expanding, i.e., the cited process does not

apply to nonconforming uses. (R. 1 at 9, ¶ 25 (quoting §122-349(b) & (d)).)

    Deja Vu filed suit long after the City began enforcing the Zoning Ordinance

against Deja Vu. To date, the City has: (1) issued the March 21, 2019 Stop Work

Order based on documented Zoning Ordinance violations, including construction

at 31 N. Washington St. (the “Property”) without a building permit (R. 1 at 2, ¶ 2;

id. at 13, ¶ 42) (2) determined in December 2019 that Deja Vu engaged in “illegal

expansion of the nonconforming use” (R. 1-4 at 1); (3) obtained, and executed, a

search warrant issued by the 14A2 District Court of the State of Michigan, and (4)



                                           5
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.370 Filed 07/06/21 Page 6 of 21




sued Deja Vu for declaratory judgment, injunctive relief, and nuisance abatement

in the Washtenaw County Circuit Court. (Ex. 1, City of Ypsilanti v. M.I.C., Ltd. et

al., Civil Action No. 21-000696-CE, “State Court Complaint”).

    Defendants move to dismiss this suit under Younger v. Harris, 401 U.S. 37

(1971), and its progeny, including Sprint Communications, Inc. v. Jacobs, 571 U.S.

69 (2013) and Middlesex County Ethics Committee v. Garden State Bar

Association, 457 U.S. 423 (1982). There are ongoing, coercive state proceedings

that implicate important state interests and afford the federal plaintiffs an

opportunity to raise their constitutional claims as defenses in the Michigan courts.

                                Factual Background

    In March 2019, City building officials issued a Stop Work Order to Deja Vu

because its contractors were making changes to the basement of the building

without a building permit. (R. 1, Compl. ¶ 2 (“A City inspector noticed the

unpermitted repairs and issued a stop-work order . . . .”); Ex. 1 at 23, Stop Work

Order). Deja Vu never obtained a building permit for that construction work.

    In November 2019, City staff inspected Deja Vu’s premises. (See R. 1-4,

Director’s 13, 2019 Illegal Expansion Letter.) City staff observed that Deja Vu had

constructed new walls in the basement below the stage and started using the

basement for a dressing room for its employees. (Id. at 1.) The basement had

previously not been in use. (Id. at 1, 4.) The Director also documented that on the



                                           6
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.371 Filed 07/06/21 Page 7 of 21




main floor: (a) the women’s restroom with shower had been changed into what

Deja Vu described at that time as a “storage room,” (b) the preexisting main floor

dressing room had been changed into what Deja Vu described as “offices” under

construction, and (c) a portion of the preexisting adult bookstore space had been

converted into the club entrance and more “offices” under construction. (R. 1-4 at

1-4.) The Director’s December 2019 letter informed Deja Vu that it had engaged in

“an illegal expansion of the nonconforming use” at the Property. (Id. at 1.)

    Deja Vu did not appeal that determination per the Zoning Ordinance. (R. 1-1

at 69, §122-371.) Instead, Deja Vu continued its illegally expanded operations until

March 2020, when Deja Vu claims that it closed under a COVID-19 order.

    In July 2020, a fire broke out at the Property. The fire and smoke, and the

water used to put out the fire, caused extensive damage to the Property. On July

29, 2020, the Fire Marshall entered the property and took pictures of the damage.

    After the zoning staff’s efforts to obtain a voluntary inspection of the premises

concerning the unlawful expansion failed, the City applied for a search warrant

from the 14A2 District Court. In October 2020, the City obtained a search warrant

to inspect the Property and document violations of the Zoning Ordinance and other

City Code provisions.

    On November 20, 2020, City staff inspected the Property. (Ex. 1 at 8, 45.) The

inspection revealed that Deja Vu had made additional unpermitted structural


                                         7
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.372 Filed 07/06/21 Page 8 of 21




changes to the Property. The dressing room, which had been on the main floor, had

in fact been completely relocated to the basement and included a new shower

(where two toilet stalls had been demolished without a permit), a toilet area, and a

laundry area. (Id.) On the main floor, the entire north side of the building between

the service doors and the northwest entrance (where the dressing room had

previously been) was remodeled with wall partitions, electrical wiring, and

drywall. Additionally, the entrance area at the front east side (where the adult

bookstore and entrance area was) had been reduced to accommodate the new

rooms / booth areas. City staff also observed, throughout the building, where

various permits, including building permits, were required and not obtained. (Ex.

Id.) During the inspection, a Deja Vu manager (Chris Corwin) revealed to City

staff that Deja Vu’s insurance provider paid out $400,000 to repair the Property.

    On January 21, 2021, Deja Vu submitted an (incomplete) building permit

application. Deja Vu submitted a portion of this application as Exhibit F to its

complaint here. (R. 1-6 at 1-2.) Deja Vu tells the Court that 15 years ago, the City

denied its 2006 expansion request (see R. 1-2 at 3)—but Deja Vu does not include

the preexisting floor plan (the previously-grandfathered one) that it submitted with

the 2006 earlier application. (See Ex. 1 at 15-17, 2006 Floor Plan of Deja Vu.)

    What Deja Vu did submit this year, however, discloses more of the real story

of Deja Vu’s unlawful expansion in 2019 and 2020. The unpermitted construction


                                          8
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.373 Filed 07/06/21 Page 9 of 21




previously represented to be “storage” and “office” areas are shown in the 2021

building permit application for what they are: seven new “VIP” rooms for Deja

Vu’s cabaret use—three of which (#1, #2, and #5) occupy the space where the

dancers’ dressing rooms used to be, and four of which (#3, #4, #6, and #7) occupy

space previously devoted to the adult book and supply store use. (See R. 1-6 at 1

(upper right quadrant of page), 2 (upper right quadrant of page).)

    Having documented Deja Vu’s illegal expansion and extension of its

nonconforming use in 2019 and 2020, along with other Zoning Ordinance

violations, City staff communicated to Déjà vu that it was investigating the status

of the property.

    Deja Vu thereafter filed this lawsuit. It recites speech-related claims, but

alleges no facts to support claimed “animus toward the expressive conduct” Deja

Vu presents. (R. 1 at 19, ¶ 84.b.) Instead, the City has followed the Zoning

Ordinance’s restrictions on nonconforming uses.

    Thus, the gravamen of Deja Vu’s complaint turns on this state-law issue

involving the interpretation of a local zoning ordinance. (See, e.g., R. 1 at 20, ¶

84.g. (“Plaintiffs’ Plan cannot be said to be an expansion of a nonconforming

use.”); id. at 21, ¶ 89.a. (claiming that the site plan review process for expanding a

land use applies to Deja Vu, even though Deja Vu is a nonconforming use that is

prohibited from expanding per §122-349(b), (d) (quoted at R. 1 at 9, ¶ 25)).)


                                           9
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.374 Filed 07/06/21 Page 10 of 21




    On June 28, 2021, the Director sent a Zoning Enforcement Action letter to

Deja Vu. (Ex. 1 at 43-45, “2021 Zoning Enforcement Action”.) The letter

explained that: (a) Deja Vu’s application was for a building permit, not a site plan,

because a site plan involves a different form and requires much more information;

(b) as a building permit application, the application was incomplete; (c) Deja Vu

has lost its right to continue a nonconforming use by virtue of its Zoning

Ordinance violations, including illegal expansion and extension of its

nonconforming use and its illegal construction without building permits; (d) Deja

Vu has lost its right to continue a nonconforming use because the cost of

restoration of the building after the extensive damage caused by the fire exceeds

the relevant thresholds in the Zoning Ordinance; and (e) violations of the Zoning

Ordinance constitute a nuisance per se under Michigan statutory law and the

Zoning Ordinance. (Id.)

    On July 1, 2021, the City of Ypsilanti sued Deja Vu under state law in the

Washtenaw County Circuit Court. The City seeks: (1) a declaratory judgment that

Deja Vu, by its own actions and, separately, as a result of the fire, has lost any right

it may have had to continue a nonconforming use at the Property, (2) a declaration

that continuance of any nonconforming use at the Property is a nuisance per se, and

an order abating same, and (3) an injunction preventing Deja Vu from continuing a

nonconforming use at the Property. (Ex. 1 at 13.)


                                          10
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.375 Filed 07/06/21 Page 11 of 21




                                     Argument

I.   Younger abstention bars maintenance of Deja Vu’s federal suit.
     The Younger doctrine serves to prevent federal courts from interfering with

criminal prosecutions and civil enforcement actions in state courts, and to preserve

federalism and the comity between the state and national governments. Doe v.

Univ. of Ky., 860 F.3d 365 (6th Cir. 2017). This sensitivity to federalism

recognizes “a proper respect for state functions,” and the rule that state courts

should be “left free to perform their separate functions” without undue interference

from the federal courts. Younger, 401 U.S. at 44.

     In Younger, the Supreme Court held that a federal court should abstain from

interfering with state criminal proceedings as long as those proceedings allow the

federal plaintiff “an opportunity to raise his constitutional claims” as defenses in

the state court. 401 U.S. at 49. The Court subsequently held that Younger applies in

three circumstances: (1) state criminal prosecutions, (2) civil enforcement

proceedings, and (3) civil proceedings involving certain orders that further a state’s

ability to perform its judicial functions. New Orleans Public Services, Inc. v.

Council of City of New Orleans, 491 U.S. 350, 367-68 (1989) (“NOPSI”).

     When one of those three circumstances is present, the federal court applies the

three-factor test in Middlesex County Ethics Committee v. Garden State Bar

Association, 457 U.S. 423 (1982), to determine whether abstention is warranted.



                                          11
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.376 Filed 07/06/21 Page 12 of 21




Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 81-82 (2013). As the Supreme

Court framed the test:

    The question in this case is threefold: first, do [the state proceedings]
    constitute an ongoing state judicial proceeding; second, do the
    proceedings implicate important state interests; and third, is there an
    adequate opportunity in the state proceedings to raise constitutional
    challenges.

Middlesex, 457 U.S. at 432.

     Younger applies here because all these elements are met.

A. The City’s coercive state court action for nuisance abatement and
   injunctive relief is a state enforcement action that triggers Younger.

    The Supreme Court has held that Younger abstention applies where federal

plaintiffs face state civil proceedings that are “‘akin to a criminal prosecution’ in

‘important respects.’” Sprint, 571 U.S. at 79 (quoting Huffman v. Pursue, Ltd., 420

U.S. 592, 604 (1975) (requiring abstention under Younger in deference to nuisance

action against adult bookstore)).

    The Court explained:

    Such enforcement actions are characteristically initiated to sanction the
    federal plaintiff, i.e., the party challenging the state action, for some
    wrongful act. See, e.g., Middlesex, 457 U.S. at 433-434 (state-initiated
    disciplinary proceedings against lawyer for violation of state ethics rules).
    In cases of this genre, a state actor is routinely a party to the state
    proceeding and often initiates the action. See, e.g., Ohio Civil Rights
    Comm’n v. Dayton Christian Schools, Inc., 477 U.S. 619 (1986) (state-
    initiated administrative proceedings to enforce state civil rights laws) . . . .

Sprint, 571 U.S. at 79.

    The City’s suit against Deja Vu in state court is squarely within this category.

                                          12
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.377 Filed 07/06/21 Page 13 of 21




    The Zoning Ordinance that the City is enforcing in its state action provides

that: (1) a violation is an “offense,” and may be fined (R. 1-1 at 69, §122-375); (2)

any building or structure used in violation of the Zoning Ordinance is a public

nuisance per se (Id.); and (3) the City is authorized to institute an action “for an

injunction or other process against a person to restrain, prevent or abate” a

violation of the Zoning Ordinance. (See Code Section 1-15)).

    Thus, City’s enforcement proceeding seeks to sanction Deja Vu for acts that

are not just “wrongful,” Sprint, 571 U.S. at 79, as in Middlesex (ethics violations),

but also illegal. See also MCL 125.3407 (declaring a violation of a municipal

zoning ordinance to be a nuisance per se and authorizing penalties).

    Deja Vu has illegally expanded and extended its nonconforming use of the

Property such that it has extinguished any right it may have had to use the Property

as a nonconforming use. (R. 1-1 at 56-58, §122-349.) Yet, Deja Vu intends to

further extend its nonconforming use and operate it there for many more years.

    Count 1 of the City’s state court complaint seeks a declaration that Deja Vu

has extinguished any right it may have had to conduct a nonconforming use at the

Property. (Ex. 1 at 10-11.) Count 2 seeks relief under MCL 125.3407 and the

Zoning Ordinance to abate the nuisance of continuing any nonconforming use. (Id.

at 11-12.) Count 3 seek the remedy of an injunction against Deja Vu’s maintenance

of a nonconforming use at the Property. (Id. at 12-13.)


                                          13
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.378 Filed 07/06/21 Page 14 of 21




     These features show that the City’s state injunction and nuisance abatement

action against Deja Vu is a coercive, civil enforcement proceeding to sanction the

federal plaintiff for a wrong. Like the state proceedings in Huffman, Middlesex,

and Ohio Civil Rights Commission, the City’s state court proceeding to enforce

state law and the City’s Zoning Ordinance triggers Younger abstention.

B. The City’s civil enforcement proceeding meets the Middlesex factors for
   Younger abstention.
1.   The state court lawsuit against Deja Vu is ongoing.

     Under the first prong of the Middlesex test, the City’s state-court action for

injunctive relief and nuisance abatement constitutes an ongoing judicial

proceeding. Huffman v. Pursue, Ltd., 420 U.S. 592 (1975) (applying Younger to

civil nuisance proceeding resulting in injunction).

     When a person is the target of an ongoing state action involving important
     state interests, a party cannot interfere with the pending state action by
     maintaining a parallel federal action involving claims that could have
     been raised in the state case. If the state party files such a case, Younger
     abstention requires the federal court to defer to the state proceeding.

Coles v. Granville, 448 F.3d 853, 865 (6th Cir. 2006).

     In Hicks v. Miranda, 422 U.S. 332, 349 (1975), the Supreme Court held that

“where state criminal proceedings are begun against the federal plaintiffs after the

federal complaint is filed but before any proceedings of substance on the merits

have taken place in the federal court, the principles of Younger v. Harris should

apply in full force.”


                                          14
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.379 Filed 07/06/21 Page 15 of 21




    Just as Younger has been extended to coercive civil proceedings, so has the

principle set forth above in Hicks. Loch v. Watkins, 337 F.3d 574, 578 (6th Cir.

2003) (abstaining under Younger where coercive state civil proceeding was filed

after the federal suit “but before any proceedings of substance of the merits have

taken place in the federal court”) (quoting Hicks, 422 U.S. at 349).

    The City has been enforcing its Zoning Ordinance against Deja Vu since well

before Deja Vu filed this federal case. In the eighteen months preceding the filing

of Deja Vu’s federal lawsuit, the City issued a Stop Work Order against Deja Vu’s

expansion and construction, determined that Deja Vu’s expansion of its

nonconforming use was illegally, and obtained a search warrant to document its

Zoning Ordinance violations. Thereafter, the City issued the Zoning Enforcement

Action detailing that Deja Vu’s actions, and separately, the 2020 fire, terminated

any right Déjà vu may have had to continue a nonconforming use at the Property.

The City also brought the coercive civil proceeding in state Court to enforce the

nonconforming use restrictions in the Zoning Ordinance and to abate the nuisance

created by Deja Vu’s violations of the Zoning Ordinance.

    The pending state proceedings against Deja Vu are ongoing, and satisfy the

first prong for Younger abstention as set forth in the Middlesex test. Hicks, 422

U.S. at 349.




                                         15
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.380 Filed 07/06/21 Page 16 of 21




2.   The City’s civil enforcement proceeding also implicates important state
     interests.
     Abating the nuisance and securing compliance with the Zoning Ordinance

restrictions on nonconforming uses at Deja Vu’s location serves important

governmental interests. The Zoning Ordinance itself serves the “provisions, goals,

and values as adopted in the City of Ypsilanti Master Plan” and regulates “the use

of land, buildings, and structures to promote the public health, safety, and welfare.”

(R. 1-1 at 1, §122-100.)

     Moreover, because nonconforming uses are “incompatible with permitted

uses,” the zoning ordinance states that nonconforming uses “shall not be enlarged

upon, expanded or extended, nor be used as grounds for adding other structures or

uses prohibited in the district.” (R. 1-1 at 55, §122-345(b).) “It is the policy of this

state and a goal of zoning that uses of property not conforming to municipal zoning

ordinances be gradually eliminated.” Jerome Township v. Melchi, 184 Mich. App.

228, 231, 457 N.W.2d 52, 54 (1990).

     Thus, the City’s civil enforcement action also meets the second part of the

Younger/Middlesex test.

3.   The City’s civil enforcement action provides Deja Vu an opportunity to
     present its constitutional claims.

     The City’s action in Washtenaw County Circuit Court provides an adequate

forum for Deja Vu to raise its constitutional challenges. The circuit court is one of



                                           16
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.381 Filed 07/06/21 Page 17 of 21




general jurisdiction, and it has the plenary authority to adjudicate constitutional

claims against the City’s regulations and actions that Deja Vu seeks to challenge.

    Deja Vu can raise those challenges as defenses in state court to the City’s

action for injunctive relief and nuisance abatement. Cf. Pennzoil Co. v. Texaco,

Inc., 481 U.S. 1, 15 (1987) (“[W]hen a litigant has not attempted to present his

federal claims in related state-court proceedings, a federal court should assume that

state procedures will afford an adequate remedy.”). In fact, “a federal court should

abstain ‘unless state law clearly bars the interposition of the constitutional claims.”

Middlesex, 457 U.S. at 432 (quoting Moore v. Sims, 442 U.S. 415, 425-26 (1979)).

    Here, Deja Vu argues that provisions in state law (e.g., the nonconforming use

provisions of the City’s Zoning Ordinance) affirmatively permit its remodeling

plan. Deja Vu contends that its expansion into the basement, and its construction of

new VIP rooms on the main floor, have not violated the restrictions applicable to

nonconforming uses. Indeed, Deja Vu goes further, arguing that its plans to build a

new dancer dressing room in the bookstore area, and to otherwise extend the life of

its nonconforming use for many years cannot be said to be an unlawful expansion

or extension. The City, of course, takes the opposite position on these issues of

state law, arguing that Deja Vu has forfeited its nonconforming use rights and is

complaining about delay in processing an application that is not even complete—

and would not apply to Deja Vu’s nonconforming use even if it were complete.


                                          17
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.382 Filed 07/06/21 Page 18 of 21




    The state law issues are determinative. If Deja Vu has lost its nonconforming

use right, then it is not allowed to continue its nonconforming use at the Property.

But either way, the Michigan state court has concurrent jurisdiction over claims

brought under 423 U.S.C. §1983, and is fully competent to resolve Deja Vu’s

constitutional claims when they are raised as defenses to the City’s coercive suit.

    Therefore, the ongoing state proceeding also meets Younger/Middlesex’s third

prong.

C. None of Younger’s narrow exceptions applies.

    None of the very limited exceptions to the Younger doctrine applies here.

    First, Deja Vu’s constitutional claims do not preclude the application of

Younger, which itself was a First Amendment case. The Supreme Court explained

that even “the possible unconstitutionality of a statute ‘on its face’ does not” justify

an injunction against its enforcement, where the federal plaintiff has “failed to

make any showing of bad faith” by the federal defendant. Younger, 402 U.S. at 55;

see also Huffman v. Pursue, Ltd., 420 U.S. 592, 602 (1975).

    The Zoning Ordinance is not “‘flagrantly and patently violative of express

constitutional prohibitions in every clause, sentence and paragraph, and in

whatever manner and against whomever an effort might be made to apply it.’”

Younger, 401 U.S. at 53-54 (quoting Watson v. Buck, 313 U.S. 387, 402 (1941)).

Almost all cities in Michigan have similar restrictions against expanding or



                                          18
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.383 Filed 07/06/21 Page 19 of 21




extending nonconforming uses, engaging in construction work without first

securing a building permit, etc. The Zoning Ordinance is not a species of law like

that described in Watson v. Buck.

    Second, besides being unable to show that the laws at issue are flagrantly

unconstitutional, Deja Vu cannot show that the City brought its action for

injunctive relief and nuisance abatement in bad faith. A “bad faith” showing is a

very “narrow exception[] to the doctrine that federal courts should not interfere”

with coercive state proceedings, and has been found only in extraordinarily rare

circumstances. See, e.g., Dombrowski v. Pfister, 380 U.S. 479 (1965) (finding bad

faith where state officials arrested civil rights activists and charged them under a

facially unconstitutional law, raided their offices and seized their records, and then

continued to threaten future prosecutions even after a state court invalidated the

warrants and the raid). “Those [Dombrowski] types of threats, or other similar

actions, are not alleged here, and as such, the district court was correct in finding

Younger abstention precluded its involvement in the case.” Doe v. University of

Kentucky, 860 F.3d 365, 371 (6th Cir. 2017).

    Here, after initiating administrative action (Stop Work Order) that did not

secure compliance with the Zoning Ordinance’s nonconforming use restrictions,

the City informed Deja Vu that it had illegally expanded in violation of those

restrictions. Thereafter, the City obtained a warrant from state court that resulted in


                                          19
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.384 Filed 07/06/21 Page 20 of 21




an inspection revealing even more violations. Ultimately, the Director detailed the

reasons why any right to continue a nonconforming use at the Property has been

terminated, and the City brought a civil coercive proceeding seeking relief under

the Zoning Ordinance and state law. It has not padlocked the business or taken

strict enforcement action as it seeks judicial relief in state court, nor has it engaged

in any objectively outrageous behavior like that detailed in Dombrowski.

    For these reasons, Younger abstention applies, and the Court should dismiss

Deja Vu’s complaint, without prejudice, in deference to the pending state court

action.

                                      Conclusion

    Younger’s elements are met, and none of its exceptions apply. Thus, the City

of Ypsilanti respectfully requests that this Court grant its motion to dismiss.

    As required by E. D. Mich. LR 7.1, undersigned counsel conferred with

counsel for Plaintiffs, explained the nature and legal basis of this motion, and

requested but did not obtain concurrence in the relief sought.

Dated: July 6, 2021                      Respectfully submitted,

                                         LAW OFFICE OF SCOTT D.
                                         BERGTHOLD, P.L.L.C.

                                         By:    /s/ Scott D. Bergthold
                                                Scott D. Bergthold (TN 023186)
                                                Law Office of Scott D. Bergthold,
                                                P.L.L.C.
                                                2290 Ogletree Ave., Suite 106


                                           20
Case 5:21-cv-10982-JEL-APP ECF No. 9, PageID.385 Filed 07/06/21 Page 21 of 21




                                                Chattanooga, TN 37421
                                                (423) 899-3025
                                                sbergthold@sdblawfirm.com

                                                Lauri B. Stewart (P55014)
                                                500 Woodward, Suite 2500
                                                Detroit, MI 48226
                                                (313)961-0200
                                                lstewart@kerr-russell.com

                                                Attorneys for Defendants




                          CERTIFICATE OF SERVICE

      I hereby certify that on July 6, 2021 I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send

notification of said filing to all filing users indicated on the Electronic Notice List

through the Court’s electronic filing system.

                                  /s/ Scott D. Bergthold
                                  Scott D. Bergthold (TN 023186)
                                  Law Office of Scott D. Bergthold, P.L.L.C.




                                           21
